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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

YUSEFF WILLIAMS
229 Linden Lane
Glenside, PA 19038
JURY DEMANDED
Plaintiff,

v.
UGI CORPORATION
d/b/a AMERIGAS _
460 North Gulph Road
King of Prussia, PA 19406
And
AMERIGAS PRoPANE PARTS &
SERVICE, INC.
460 North Gulph Road
King of Prussia, PA 19406
And
AMERIGAS PROPANE, L.P.
d/b/a SERVICEMARK HEATING
COOLING & PLUMBING
460 Noith Gulph Road
King of Prussia, PA 19406
Defendants

CIVIL ACTION COMPLAINT

I. Introduction.
1. Plaintiff Yuseff Williams, by and through his undersigned counsel, brings this
action for monetary damages pursuant to the Americans with Disabilities Act arising from his

Wrongful termination fora perceived disability. Plaintiff seeks to hold Defendants accountable

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for their termination of Plaintiff’s employment due to their incorrect identification and diagnosis
of Plaintiff as a person in need of treatment for sleep apnea.
II. Parties and Reasons for Jurisdiction.

2. Plaintiff, Yuseff Williams (hereinafter “Plaintift”), is an adult individual residing
at the above address.

3. Defendant, UGl Corporation d/b/a AmeriGas, (hereinafter “UGI”) is a
corporation organized and operating under the laws of the Commonwealth of Pennsylvania with
a principle and registered place of business at the above captioned address.

4. Defendant, Amerigas Propane Parts & Service, lnc. is a corporation organized and
operating under the laws of the Commonwealth of Pennsylvania with a principle and registered
place of business at the above captioned address.

5. Defendant, Amcrigas Propane, L.P., doing business as Servicenrark Heating,
Cooling & Plumbing is a limited partnership, organized and operating under the laws of the
Commonwealth of Pennsylvania with a principle and registered place of business at the above
captioned address.

6. At all times material hereto, Plaintiff was an employee of the foregoing
Defendants, who shall be collectively referred to as “Defendants”.

7. Plaintiff exhausted his administrative remedies pursuant to the Equal Employment
Opportunity Act and the Pennsylvania Human Relations Act. (See Exhibit A, a true and correct
copy of a dismissal and notice of rights issued by the Equal Employment Opportunity
Commission.)

8. This action is instituted pursuant to the Americans with Disabilities Act, the

Pennsylvania Human Relations Act and applicable federal and state law.

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9. Jurisdiction is conferred by 28 U.S.C. §§ 1331 and 1343.

10. Supplemental jurisdiction over the Plaintiff’ s state law claims is conferred
pursuant to 28 U.S.C. § 1367.

ll. Pursuant to 28 U.S.C. § 139l(b)(l) and (b)(2), venue is properly laid in this
district because Defendant conducts business in this district, and because a substantial part of the
acts and/or omissions giving rise to the claims set forth herein occurred in this judicial district.
Plaintiff was working for Defendant in the Eastern District of Pennsylvania at the time of the
illegal actions by Defendant as set forth herein.

III. Operative Facts.
12. In or around July of 2015, Plaintiff began working full time for Defendant as a

service technician Plaintiff`s job entailed driving a delivery truck for approximately half of the

work day to deliver propane tanks to customers

13. At all times material hereto, Plaintiff was required to maintain a Commercial

Drivers License to drive Defendant’s fleet of commercial vehicles.

l4. In or around December of 2015 , Defendant initiated a pilot study where it began

screening all new applicants, seasonal hires and flex employees for Obstructive Sleep Apnea.

15. Plaintiff and two (2) new employees, Larry and Steve, were required to submit to
the testing
l6. The study involved Plaintiff using a smart phone to engage in an online talk video

session with Defendant’s representative wherein Plaintiff used the smart phone to capture a

video of his throat.

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17. The Defendant’s representative/pilot study staff evaluated the video and
determined that Plaintiff was required to take an at home sleep study test to test for obstructive

sleep apnea.

18. Plaintiff completed the at home sleep study test on or about April 17, 2016, and
was purportedly diagnosed by Defendant as having sleep apnea. Defendant prescribed Plaintiff a

CPAP machine to treat his sleep apnea.

19. This was the first time Plaintiff had been purportedly diagnosed with sleep apnea.

20. Plaintiff had no record of falling asleep at work or otherwise having sleeping
issues that affected his work performance ln fact, Plaintist job history with Defendant Was

excellent and he received numerous letters of recommendation during his employment

21. Defendant required Plaintiff to wear the CPAP machine for four hours per day
during the workday. Defendant required Plaintiff to wear the CPAP mask in-between jobs over

the course of the workday.

22. Plaintiff’ s supervisor, Brian N., purchased Plaintiff a cigarette lighter adapter so

that Plaintiff would use his CPAP machine while in the truck.

23. Plaintiff often felt embarrassed and uncomfortable wearing the CPAP mask in

front of his supervisors, coworkers and customers

24. Plaintiff’s new co~workers Larry and Steve were also diagnosed by Defendant
with sleep apnea and were required to use the CPAP machine. Steve quit shortly after Defendant

forced him to use the CPAP machine.

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25. Plaintiff was the only experienced employee who was required to submit to the

test and required to use the CPAP machine.

26. Shortly after Plaintiff began using the CPAP machine, he began to experience

breathing difficulty during use.

27. Plaintiff informed Defendant on numerous occasions that the CPAP machine was

not working and that he could not breathe while wearing the mask.

28. Plaintiff demanded to stop using the CPAP mask or to speak to a medical

professional about his breathing difficulties, but his requests were not honored.

29. ln or around, January of 2016, Plaintiff spoke to Defendant’s nurse, Meghan

about the breathing difficulties that he was experiencing

30. During the consultation, Plaintiff asked if there were any alternative treatments to

the CPAP machine.

31. Meghan advised that Plaintiff needed to continue to wear the CPAP machine or

his employment would be terminated

32. Based on that instruction, Defendant continued to require Plaintiff to utilize the

CPAP machine while at work despite his breathing difficulties

33. Each time Plaintiff complained to Defendant about his breathing difficulties, he

was informed that his employment would be terminated if he did not use the CPAP.

34. Defendant failed to address Plaintist complaints and instead advised Plaintiff

that his use of the CPAP machine was a required condition of his employment

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35. Plaintiff scheduled an appointment with his personal primary care doctor to

discuss Defendant’s diagnosis and treatment

36. Plaintiff contacted his personal primary care physician Dr. Ronda Karp’s office

on or around January of 2016, but he was not able to be seen by her until April of 2016.

37. Dr. Karp prescribed and Plaintiff attended an overnight sleep study at Abington

Hospital on or around April 17, 2016.

38. On or around March 7, 2016, Defendant terminated Plaintiff’s employment on the
grounds that he failed to leill a material condition of his employment which was the required

use of the CPAP rnachine.

IV. Causes of Action.

COUNT I - TITLE I CLAIM--AMERICANS WITH DISABILITIES ACT
(42 U.S.C.A. § 12101 et seq)

39. Plaintiff incorporates paragraphs 1-38 as if fully set forth at length herein.

40. At all times material hereto, and pursuant to the Americans with Disabilities Act
of 1990, 42 U.S.C. §12101, et seq,, an employer may not discriminate against an employee based
on a disability.

4l. Plaintiff is a qualified employee and person within the definition of Americans
with Disabilities Act of 1990, 42 U.S.C. §12101, et seq,.

42. Defendant is an “employer” and thereby subject to the strictures of the Americans
with Disabilities Act of 1990, 42 U.S.C. §12101, et seq,.

43. At all times material hereto, Plaintiff was perceived to have a disability, as

described above.

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44. Defendant’s conduct in terminating Plaintiff is an adverse action, was taken as a
result of his perceived disability and constitutes a violation of the Americans with Disabilities
Act of 1990, 42 U.S.C. §12101, et seq,.

45. Defendant failed to reasonably accommodate Plaintiff’s perceived disability.

46. As a proximate result of Defendant’s conduct, Plaintiff sustained significant
damages, including but not limited to: great economic loss, future lost earning capacity, lost
opportunity, loss of wages, lost benefits, as well as emotional distress, mental anguish,
humiliation, pain and suffering, consequential damages and Plaintiff has also sustained work
loss, loss of opportunity, and a permanent diminution of his earning capacity and a claim is made
therefore.

47. As a result of the conduct of Defendant’s owners/management, Plaintiff hereby
demands punitive damages

48. Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq
Plaintiff demands attorneys fees and court costs

COUNT 11 _ vloLATloN oF THE PENNSYLVANIA HUMAN RELATIoNs ACT
(43 P.s. § 955)

49. Plaintiff incorporates paragraphs l-48 as if fully set forth at length herein.

50. At all times material hereto, and pursuant to the Pennsylvania Human Relations
Act, 43 P.S. § 951, et seq,, an employer may not discriminate against an employee based on a
disability.

51. Plaintiff is a qualified employee and person within the definition of Pennsylvania
Human Relations Act, 43 P.S. § 951, et seq,.

52. Defendant is an “employer” and thereby subject to the strictures of the

Pennsylvania Human Relations Act, 43 P.S. § 951, et seq,.

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53. At all times material hereto, Plaintiff had a perceived disability, as described
above.

54. Defendant’s conduct in terminating Plaintiff is an adverse action, was taken as a
result of his disability and constitutes a violation of the Pennsylvania Human Relations Act, 43
P.S. § 951, et seq,.

55. Defendant failed to accommodate Plaintiff’ s perceived disability.

56. Defendant failed to engage in a meaningful back and forth discussion in an effort

n to accommodate Plaintiffs disability.

57. As a proximate result of Defendant’s conduct, Plaintiff sustained significant
damages, including but not limited to: great economic loss, future lost eaming capacity, lost
opportunity, loss of wages, as well as personal injury, emotional distress, mental anguish,
humiliation, pain and suffering, consequential damages and Plaintiff has also sustained work
loss, loss of opportunity, and a permanent diminution of his earning capacity and a claim is made
therefore.

58. As a result of the conduct of Defendant’s owners/management, Plaintiff hereby
demands punitive damages

59. Pursuant to the Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.,
Plaintiff demands attorneys fees and court costs.

C()UNT III - WRONGFUL TERMINATION - PENNSYLVANIA COMMON LAW

60_ Plaintiff incorporates paragraphs 1-59 as if fully set forth at length herein.

6l. Defendant’s conduct in identifying and diagnosing Plaintiff with sleep apnea and
prescribing him a CPAP machine which they required him to use during the workday
despite the fact that it caused Plaintiff breathing difficulties was intentional or reckless

62. Defendant’s conduct towards Plaintiff, as described above and incorporated

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herein, constitutes wrongful termination of Plaintiff in that it violated public policy.

63. Defendant imposed an um'easonable requirement upon Plaintiff’ s employment

64. Defendant required Plaintiff submit to medical procedures, tests and experiments
in order to maintain employment

65. Defendants lacked a rational basis or legitimate employment reason for imposing
this harsh, unreasonable and unnecessary employment restriction.

66. As a proximate result of Defendant’s conduct, Plaintiff sustained significant
damages, including but not limited to: great economic loss, future lost earning capacity, lost
opportunity, loss of wages, as well as personal injury, emotional distress, mental anguish,
humiliation, pain and suffering, consequential damages and Plaintiff has also sustained work
loss, loss of opportunity, and a permanent diminution of his earning capacity and a claim is made
therefore.

67. As a result of the conduct of Defendants, Plaintiff hereby demand punitive
damages

68. Plaintiff demands attorneys fees and court costs

COUNT IV - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

69. Plaintiff incorporates paragraphs l-68 as if fully set forth at length herein.

70. Defendants’ aforementioned conduct in identifying and diagnosing Plaintiff with
sleep apnea and requiring his use of the CPAP machine during the workday despite the fact that
it caused Plaintiff breathing difficulties was intentional or reckless

7l. The above conduct of the Defendant was extreme and outrageous

72. The above resulting conduct of the Defendants caused the Plaintiff to suffer
severe emotional distress, manifested in physical symptoms such as a lack of breathing

comfortably.

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73. As a proximate result of Defendant’s conduct, Plaintiff sustained significant
damages, including but not limited to: great economic loss, future lost earning capacity, lost
opportunity, loss of wages, as well as personal injury, emotional distress, mental anguish,
humiliation, pain and suffering, consequential damages and Plaintiff has also sustained work
loss, loss of opportunity, and a permanent diminution of his earning capacity and a claim is made
therefore.

74. As a result of the conduct of Defendants, Plaintiff hereby demand punitive
damages

75. Plaintiff demands attorneys fees and court costs

VI. Relief Requested.

WHEREFORE, Plaintiff demands judgment in his favor and against Defendants

together in a sum greater than $150,000.00, including:

A. Compensatory damages for: including, but not limited to, restitution, expectation
damages, consequential damages, back pay and lost benefits lost future wages, lost
earning capacity, economic loss, pain and suffering, emotional distress and;

B. Punitive damages;

C. Interest on the amount of the claim from the date the claim was made by Plaintiff in
an amount equal to the prime rate of interest plus 3% for bad faith.

D. Attorney’s fees and costs of suit.

E. Any other further relief this Court deems just proper and equitable.

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Date: Q[Qg[( g

LAW OFFICES OF ERIC A. SHORE, P.C.

GRAHAM BAIRD, EsQUI'RE
Two Penn Center

1500 JFK Boulevard, Suite 1240
Philadelphia, PA 19110

Attomey for Plaintiff, Yuseff Williams

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EXH. A

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EEOC Fnrm161-a (11115) U. S. EQU:LL EMPLOYMENT OPPORTUN|TY COMM|SS|ON

 

NorlcE dF RleHr To SuE (/ssuED orv REQUEST)

 

To: Yuseff Williams f_- From: Philadelphia District Oft”lce
P.O. Box 1151 801 Market Street

Glenside, PA19038 - Suite 1300
= Philadelphia, PA 19107

On behalf of parson(s) aggrieved whose identity is
coer/DENT/AL (29 cFR §1601.7(a))f;

 

EEOC Charge No. EEOC Representative Telephone No.
§ Lega1 unir,

 

530-2017-00423 Legal Technician (215) 440-2828

(See also the additional information enclosed with this forrn.)
NoncE To THE PERsoN AGGR|EVED: -

Title Vll of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic information Nondiscrimination
Act (GlNA): This ls your Notice of Right to Sue, i‘_ssued under Title Vll, the ADA or G|NA based on the above- numbered charge. lt has '
been issued at your request Your lawsuit under; Title V|l, the ADA or GlNA must be filed' m q federal or state court WlTHlN 90 DAYS
of your receipt of this notice; or your right to s e based on this charge will be lost. (The time limit forl filing suit based on a claim under
state law may be different.)

More than 180 days have passed inc_e the tiling of this charge.

l:l Less than 180 days have passed lines the filing of this charge, but l have determined that it rs unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC ls terminating its processing of thls charge
l:| The EEOC will continue to process this charge.

Age Discrimination 1n Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. ln this regard, the paragraph marked below applies to
your case:

:| The EEOC is closing your case. 'l':herefore, your lawsuit under the ADEA must be filed in federal or state court WlTHlN
90 DAYS of your receipt of this hlotice. Otherwise, your right to sue based on the above-numbered charge will be lost.

[:] The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the tiling of the charge,
you may file suit in federal or stateE court under the ADEA at this time.

Equa| Pay Act (EPA): You already have the right to sue under the EPA (t` l1ng an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for .wil|ful violations) of the alleged EPA underpayment This means that backpay due for
any violations that occurred more than 2 years 13 years) before you1 file suit may not be collectible.

if you tile suit, based on this charge, please send a copy of your court complaint to this oft'\ce.
On behalf of the Commission

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Enclosures(s) 5 Kevin J Berry, (Dale Mai/ed)
Acting District Director

Shane Siegel, Esq. Graham Baird, Esq.

cc:
MORGAN LEW|S LAW OFFICE OF ERIC SHORE
1701 Market Street `§ 1500 JFK Boulevard 2 Penn Center

Philadelphia, PA 19103 Suite 1240 PO BOX 58519
:= Philadelphia, PA19102

